Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 1 of 8 Page ID #:341




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Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 2 of 8 Page ID #:342




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Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 3 of 8 Page ID #:343




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Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 4 of 8 Page ID #:344




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Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 5 of 8 Page ID #:345




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Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 6 of 8 Page ID #:346




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Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 7 of 8 Page ID #:347




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Case 2:19-cv-08917-SB-KS Document 30-15 Filed 01/28/21 Page 8 of 8 Page ID #:348




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